     Case
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                        Exhibit Stipulation
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
     Denise Carlon, Esquire
     KML Law Group, P.C.
     701 Market Street, Suite 5000                                            Order Filed on August 5, 2020
     Philadelphia, PA 19106                                                   by Clerk
     Main Phone: 609-250-0700                                                 U.S. Bankruptcy Court
                                                                              District of New Jersey
     dcarlon@kmllawgroup.com
     Attorneys for Secured Creditor
     LAKEVIEW LOAN SERVICING LLC

                                                               Case No.: 19-25712 RG

     In Re:                                                    Adv. No.:
               Marcelino Arroyo, Aretha Blake-Arroyo
                                                               Hearing Date: 8/5/2020 @ 10:00 a.m.
     Debtors.                                                  Judge: Rosemary Gambardella


              ORDER CURING POST-PETITION ARREARS AND RESOLVING SECURED
                       CREDITOR’S MOTION FOR RELIEF FROM STAY

          The relief set forth on the following pages, numbered two (2) through two (2) is hereby
     ORDERED.




DATED: August 5, 2020
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(Page 2)
Debtors: Marcelino Arroyo, Aretha Blake-Arroyo
Case No: 19-25712 RG
Caption of Order: ORDER CURING POST-PETITION ARREARS AND RESOLVING SECURED
CREDITOR’S MOTION FOR RELIEF
_________________________________________________________________________________
       This matter having been brought before the Court by KML Law Group, P.C., attorneys for Secured
Creditor, LAKEVIEW LOAN SERVICING LLC, Denise Carlon, Esq. appearing, upon a motion to vacate
the automatic stay as to real property located at 4 Pine Street, Hackensack, NJ, 07601, and it appearing that
notice of said motion was properly served upon all parties concerned, and this Court having considered the
representations of attorneys for Secured Creditor and Ryan L. Gentile, Esq., attorney for Debtors, and for
good cause having been shown
        It is ORDERED, ADJUDGED and DECREED that as of July 28, 2020 Debtor is in arrears
outside of the Chapter 13 Plan to Secured Creditor for payments due April 2020 through July 2020 for a total
post-petition default of $10,771.95 (4 @ $2,721.68, $114.77 less suspense); and
        It is further ORDERED, ADJUDGED and DECREED that the balance of the arrears in the
amount of $10,771.95 shall be added to the affidavit of amount due and paid through Debtors’ Chapter 13
plan; and
        It is further ORDERED, ADJUDGED and DECREED that the debtor will submit a modified plan
within twenty days of the entry of this order; and
        It is further ORDERED, ADJUDGED and DECREED that regular mortgage payments are to
resume August 1, 2020, directly to Secured Creditor, M&T Bank, PO Box 1288, Buffalo, NY 14240(Note:
the amount of the monthly mortgage payment is subject to change according to the terms of the note and
mortgage); and
        It is further ORDERED, ADJUDGED and DECREED that for the Duration of Debtor’s Chapter
13 bankruptcy proceeding, if the lump sum payment or any regular monthly mortgage payments are not made
within thirty (30) days of the date said payment is due, Secured Creditor may obtain an Order Vacating
Automatic Stay as to Real Property by submitting a Certification of Default to the Court indicating such
payment is more than thirty days late, and Debtors shall have fourteen days to respond; and
        It is further ORDERED, ADJUDGED and DECREED that a copy of any such application,
supporting certification, and proposed Order must be served on the Trustee, Debtor, and Debtor’s counsel at
the time of submission to the Court; and
        It is further ORDERED, ADJUDGED and DECREED that Secured Creditor is hereby awarded
reimbursement of fees and costs in the sum of $350.00 for attorneys’ fees and $181.00 for filing fees, totaling
$531.00, which is to be paid through Debtor’s Chapter 13 plan and motion for relief is hereby resolved.
